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IN THE UNITED STATES DISTR_`[CT COURT
FOR THE WESTERN DISTRICT OF NT:`,W YORK

 

UNITED STATES OF AMERICA,
v. 15-CR-6136W
MICHAEL SMITH,

Defendant.

 

PLEA AGR.EEN[ENT

 

The defendant, MICHAEL SMITH, and the United States Attorney for the Western
District of New York (hereinafter "the government") hereby enter into a plea agreement with

the terms and conditions as set out below.

I. THE PLEA AND POSSIBLE SENTENCE

l. The defendant agrees to Waive indictment and plead guilty to a one~count
Information charging a violation of Title 18, United States Code, Section 371 (Conspiracy to
Pass Counterfeit Obligations or Securities), for which the maximum possible sentence is a
term of imprisonment of 5 years1 a fine of $250,()00, a mandatory $100 special assessment and
a term of supervised release of 3 years. The defendant understands that the penalties set
forth in this paragraph are the maximum penalties that can be imposed by the Court at

sentencing

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2. The defendant will also admit the Forfeiture Allegation of the Information
which alleges that the $2,358.00 United States Currency is subject to forfeiture to the United

States pursuant to Title 18, United States Code, Section 982 (a)(2)(B).

3. The defendant understands that, if it is determined that the defendant has
violated any of the terms or conditions of supervised release, the defendant may be required
to serve in prison all or part of the term of supervised release, up to 2 years, without credit for
time previously served on supervised release. As a consequence, in the event the defendant
is sentenced to the maximum term of incarceration, a prison term imposed for a violation of
supervised release may result in the defendant serving a sentence of imprisonment longer

than the statutory maximum set forth in Paragraph l of this agreement

II. ELEM]:`,NTS AND FACTUAL BASIS

4. The defendant understands the nature of the offense set forth in paragraph 1 of
this agreement and understands that if this case proceeded to trial, the government would be
required to prove beyond a reasonable doubt the following elements of the crime:

a. First, that two or more persons entered into the unlawful agreement

charged in the Information, that is, to pass counterfeit United States

currency in violation of Title 18, United States Code, Section 472;

b. Second, that defendant knowingly and willfully became a member of
the conspiracy; and

c. Third, that one of the members of the conspiracy committed at least one
overt act in furtherance of the conspiracy

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FACTUAL BASIS

5. The defendant and the government agree to the following facts, which form the

basis for the entry of the plea of guilty including relevant conduct:

a. On or about May 20, 2015, in the Western District of New York, the
defendant, MICHAEL SMITH, knowingly conspired with Virgilio
Diaz and Eladio Deleon to pass counterfeit U.S. Federal Reserve Notes
with the intent to defraud. On that date, SMITH was driving a vehicle
that was pulled over by the New York State Police. The passengers of
the vehicle included Diaz and Deleon. The vehicle Was pulled over
after the NYSP was contacted by Lowes loss prevention who advised
an individual, later identified as Diaz just passed a $100 counterfeit bill
in their store. Passenger Deleon was questioned by law enforcement
and he admitted that he had made purchases earlier that day at Aldi's,
Rite Aid and Jubilee using counterfeit $100 bills1 all stores located in
I-Iorseheads, New York. Deleon stated the counterfeit bills cost $40 in
United States currency to purchase Surveillance footage also captured
SMITH1 Deleon and Diaz in a Wal-Mart store on May 20, 2015. The
footage depicts Deleon and Diaz make purchases using $100 counterfeit
bills while SMITH accompanied them in the store. All three
individuals then drove away in SMITH’s vehicle. NYSP subsequently
obtained one counterfeit $100 bill from the stores Deleon made
fraudulent purchases from earlier that day.

b. U.S. Secret Service Agents then examined the money and confirmed it
was counterfeit The defendant admits on May 20, 2015, that he,

along with Deleon and Diaz knowingly conspired to pass counterfeit
U.S. Federal Reserve Notes with the intent to defraud.

HI. SENTENC]NG GU]DEL]NES

6. The defendant understands that the Court must consider but is not bound by

the Sentencing Guidelines (Sentencing Reform Act of 1984).

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BASE OFFENSE LEVEL

7. The government and the defendant agree that Guidelines § 2Bl.l(a)(1) applies

to the offense of conviction and provides for a base offense level of 7.

ACCEPTANCE OF RESPONSIB]LITY

8. At sentencing the government agrees not to oppose the recommendation that
the Court apply the two (2) level downward adjustment of Guidelines § 3E1.1(a) (acceptance

of responsibility), Which would result in a total offense level of 5.

CRD/HNAL H]STORY CATEGORY

9. It is the understanding of the government and the defendant that the
defendant's criminal history category is III. The defendant understands that if the defendant
is sentenced for, or convicted of, any other charges prior to sentencing in this action the
defendants criminal history category may increase. The defendant understands that the
defendant has no right to withdraw the plea of guilty based on the Court’s determination of

the defendant’s criminal history category.

GUIDELINES' APPLICATION CALCULATIONS AND lMPACT

 

10. It is the understanding of the government and the defendant that, with a total

offense level of 5 and criminal history category of III the defendant's sentencing range

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would be a term of imprisonment of l to 7 months, a fine of $250 to $5,000, and a period
of supervised release of 1 to 3 years. Notwithstanding this, the defendant understands that
at sentencing the defendant is subject to the maximum penalties set forth in paragraph l of

this agreement

ll. rl.`he government and the defendant agree to the correctness of the calculation
of the Sentencing Guidelines range set forth above. The government and the defendant,
however, reserve the right to recommend a sentence outside the Sentencing Guidelines range.
This paragraph reserves the right to the government and the defendant to bring to the
attention of the Court all information deemed relevant to a determination of the proper

sentence in this action.

12. The defendant understands that the Court is not bound to accept any
Sentencing Guidelines calculations set forth in this agreement and the defendant will not be

entitled to withdraw the plea of guilty based on the sentence imposed by the Court.

IV. S'I`ATU'I`E OF L[MITATIONS

13. In the event the defendant’s plea of guilty is withdrawn, or conviction vacated,
either pre- or post-sentence, by way of appeal, motion, post-conviction proceeding, collateral
attack or otherwise, the defendant agrees that any charges dismissed pursuant to this
agreement shall be automatically reinstated upon motion of the government and further

agrees not to assert the statute of limitations as a defense to any other criminal offense

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involving or related to the conspiracy to pass, utter, publish, sell or possess counterfeit
currency which is not time barred as of the date of this agreement This waiver shall be
effective for a period of six months following the date upon which the withdrawal of the

guilty plea or vacating of the conviction becomes final.

V. GOVERNMENT RIGHTS AND RESERVATIONS

14. At sentencing, the government agrees to take no position as to the specific

sentence within the Guidelines range determined by the Court.

15. The defendant understands that the government has reserved the right to:

a. provide to the Probation Oiiice and the Court all the information and
evidence in its possession that the government deems relevant
concerning the defendants background, character and involvement in
the offense charged, the circumstances surrounding the charge and the
defendants criminal histoiy;

b. respond at sentencing to any statements made by the defendant or on
the defendants behalf that are inconsistent with the information and
evidence available to the govemment;

c. advocate for a specific sentence consistent with the terms of this
agreement including the amount of restitution and/ or a fine and the
method of payment;

d. modify its position with respect to any sentencing recommendation or

sentencing factor under the Guidelines including criminal history
category, in the event that subsequent to this agreement the government
receives previously unknown information, including conduct and
statements by the defendant subsequent to this agreement regarding the
recommendation or factor; and

e. oppose any application for a downward departure and/ or sentence
outside the Guidelines range made by the defendant

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16. At sentencing the government will move to dismiss criminal complaint

15-M.l-4115.

17. The defendant agrees that any financial records and information provided by
the defendant to the Probation Ofiice, before or after sentencing may be disclosed to the

United States Attomey’s Offlce for use in the collection of any unpaid financial obligation.

V`I. APPEAL RIGHTS

18. The defendant understands that Title 18, United States Code, Section 3742
affords a defendant a limited right to appeal the sentence imposed. The defendant however,
knowingly waives the right to appeal and collaterally attack any component of a sentence
imposed by the Court which falls within or is less than the sentencing range for
imprisonment a fine and supervised release set forth in Section III, Paragraph 10, above,
notwithstanding the manner in which the Court determines the sentence In the event of an
appeal of the defendants sentence by the govemment, the defendant reserves the right to

argue the correctness of the defendants sentence.

19. The defendant understands that by agreeing not to collaterally attack the
sentence, the defendant is waiving the right to challenge the sentence in the event that in the
future the defendant becomes aware of previously unknown facts or a change in the law

which the defendant believes would justify a decrease in the defendants sentencel

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20. The government waives its right to appeal any component of a sentence
imposed by the Court which falls within or is greater than the sentencing range for
imprisonment a fine and supervised release set forth in Section III, Paragraph 10, above,
notwithstanding the manner in which the Court determines the sentence. However, in the
event of an appeal from the defendants sentence by the defendant the government reserves

its right to argue the correctness of the defendants sentence.

VII. FORFEITURE PROVISIONS

21. As a condition of the plea, the defendant agrees not to contest any forfeiture or
abandonment proceeding that may be brought by the United States and agrees to
immediately criminally forfeit all of the defendants right title and interest to any and all
property which is subject to forfeiture pursuant to Title 18 U.S.C. § 982 (a)(Z)(B) which is in
the possession and control of the defendant or the defendants nominees. That property

includes:

i. The sum of $2,358.00 United States currency seized on or about May
20, 2015 during a New York State Police traflic stop on 1-86 in
Horseheads, New York. The defendant further agrees that this
amount is properly forfeitable pursuant to Title 18 U.S.C. §982
(a)(2)(B) as the $2,358.00 was proceeds of the defendants illegal
activities and waives any other rights the defendant may possess to
contest that forfeiture.

22. The defendant knowingly, intelligently, and voluntarily waives his right to a

jury trial on the forfeiture of the assets. The defendant knowingly, intelligently, and

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voluntarily waives all constitutional, legal and equitable defenses to the forfeiture of these
assets in any proceeding, including any jeopardy defense or claim of double jeopardy,
whether constitutional or statutory, as to this criminal proceeding or any related civil or
administrative proceeding The defendant further agrees to waive any claim or defense
under the Eighth Amendment to the United States Constitution including any claim of

excessive fmc regarding the forfeiture of assets by the United States.

23. The defendant agrees that forfeiture of the aforementioned property as
authorized herein shall not be deemed an alteration of the defendants sentence. Forfeiture
of the defendants assets shall not be treated as satisfaction of any fine, restitution, cost of
imprisonment or any other penalty the Court may impose upon the defendant in addition to

forfeiture .

24. After the acceptance of the defendants guilty plea, and pursuant to Rule
32.2(b)(2) of the Federal Rules of Criminal Procedure, the Court will issue a Preliminag[
Order of Forfeiture for the item listed above. The defendant hereby waives any right to
notice of such Preliminary Order of Forfeiture. The defendant further consents and agrees
that the Preliminary Order of Forfeiture and a Final Order of Forfeiture shall issue and
become final as to the defendant prior to sentencing and agrees that it shall be made part of
the defendants sentence and included in the judgment pursuant to Rule 32.2(b)(4) of the
Federal Rules of Criminal Procedure. The defendant further agrees to waive any time

restrictions or requirements as provided in Title 18, United States Code, Section 983, any

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notice provisions in Rules 32.2 and 43(a) regarding notice of the forfeiture in the charging
instrument announcement of the forfeiture at sentencing and incorporation of the forfeiture
in the judgment The defendant acknowledges that the defendant understands that the
forfeiture of property is part of the sentence that may be imposed in this case and waives any
failure by the Court to advise the defendant of this, pursuant to Rule ll(b)(l)(.`l), at the time

the guilty plea is accepted.
V]]I. TOTAL AGREEMENT AND AFFIRMATIONS

25. This plea agreement represents the total agreement between the defendant
MICHAEL SMITH, and the government There are no promises made by anyone other
than those contained in this agreement This agreement supersedes any other prior

agreements, written or oral, entered into between the government and the defendant
Dated: October l'~_’, , 2015

WILLIAM J. HOCHUL, JR.
United States Attorney

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ACKNOWLEDGM]E`,NT

l have read this agreement which consists of ll pages. l have had a full opportunity
to discuss this agreement with my attorney, Jeffrey Ciccone, Esq. I agree that it represents
the total agreement reached between myself and the government No promises or
representations have been made to me other than what is contained in this agreement l
understand all of the consequences of my plea of guilty. l fully agree with the contents of this

agreement I am signing this agreement voluntarily and of my own free will.

”`mta)/Mr S`a,+w Q_/_Q///s WM\
MICHAEL SMITH /LEtF/WYH /C/lCQ©/NE ESQ.
Defendant M®efendant

Dated:October rif ,2015 Dated:October / § ,2015

 

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